     Case: 1:22-cv-00188 Document #: 26 Filed: 03/21/22 Page 1 of 1 PageID #:455

                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.4
                                 Eastern Division

Forest River Farms
                               Plaintiff,
v.                                                  Case No.: 1:22−cv−00188
                                                    Honorable Martha M. Pacold
Deere & Co.
                               Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, March 21, 2022:


        MINUTE entry before the Honorable Martha M. Pacold: Defendant's unopposed
motion to stay this case pending the Judicial Panel on Multidistrict Litigation's decision on
consolidation and transfer [25] is granted. Proceedings in this case are stayed until 30 days
after the JPML resolves defendant's motion to transfer. (rao, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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